SRNECFR (12/1/10) krw            UNITED STATES BANKRUPTCY COURT
                                          District of Oregon

In re                                         )
 William John Berman                          ) Case No. 19−60230−pcm11
Debtor(s)                                     )
                                              ) NOTICE TO SERVE
                                              ) DOCUMENT(S)
                                              )
                                              )


Nicholas J. Henderson IS NOTIFIED that a copy of document(s) entitled Stipulated Order Granting
Limited Relief From Stay re: 47 Notice of Hearing and Motion for Relief from Stay Filed by Creditor
Ad Hoc Group of Class Action Plaintiffs included as additional PDF file(s) in the Notice of Electronic
Filing (NEF) of this document, and any additional required attachment(s) must be immediately served on all
appropriate parties as follows:

  1. Before serving the copies you must:

      a. [If there is a Notice of Hearing enclosed] Place the Notice of Hearing on top of any other
         documents to be served on paper.

      b. Attach copies of any attachments originally filed with the document to be served, unless that is not
         required by the Certificate of Service on that document; and

      c. [If there is a Certificate of Service on the document to be served] Attach copies of any other
         document(s) required by the certificate.

      Do not attach a copy of this Notice.

  2. Within 14 days of the date below, unless an order on the document to be served provides otherwise,
     you must file a completed, dated, and signed certificate of service, without any attachments, that links
     to the original document and, unless you use a certificate included on the document to be served,
     includes: (a) a certification that you served the document(s) on all appropriate parties, and (b) a
     clearly identified list of the names and addresses of all parties served conventionally using paper.


Dated: 6/21/19                                                              Clerk, U.S. Bankruptcy Court
                                                                            405 E 8th Ave #2600
                                                                            Eugene, OR 97401




                          Case 19-60230-pcm11         Doc 71-1     Filed 06/21/19
